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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 KYKO GLOBAL, INC., a Canadian corporation,
 KYKO GLOBAL GmbH, a
 Bahamian corporation, PRITHVI
 SOLUTIONS, INC., a Delaware Corporation,          Civil Action No. 2:18-cv-01290

               Plaintiffs,
                                                    Electronically Filed
          v.

 PRITHVI INFORMATION SOLUTIONS,
 LTD, an Indian corporation, VALUE TEAM
 CORPORATION, a British Virgin Islands
 corporation, SSG CAPITAL PARTNERS I,
 L.P., a Cayman Islands Limited Partnership,
 SSG CAPITAL MANAGEMENT (HONG
 KONG) LIMITED, a private Hong Kong
 company, MADHAVI VUPPALAPATI, an
 individual, ANANDHAN JAYARAMAN, an
 Individual, SHYAM MAHESHWARI, an
 individual, IRA SYAVITRI NOOR A/K/A
 IRA NOOR VOURLOUMIS, an individual,
 DINESH GOEL, an individual, WONG
 CHING HIM a/k/a Edwin Wong, an
 individual, ANDREAS VOURLOUMIS, an
 individual, PRITHVI ASIA SOLUTIONS
 LIMITED, a Hong Kong company,

               Defendants.




 THE SSG DEFENDANTS’1 EMERGENCY MOTION FOR A STATUS CONFERENCE
  TO SCHEDULE AN EVIDENTIARY HEARING ON THE CAPACITY OF PSI, AND
                THE STANDING OF KYKO, TO BRING THIS ACTION




      1
        The “SSG Defendants” include only SSG Capital Partners I, L.P., SSG Capital
Management (Hong Kong) Ltd., Edwin Wong, Andreas Vourloumis, Shyam Maheshwari,
Dinesh Goel, and Ira Syavitri Noor.
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       1.      The SSG Defendants request an emergency status conference to address issues

related to the capacity of Plaintiff Prithvi Solutions, Inc. (“PSI”) to bring this lawsuit under

Federal Rule of Civil Procedure 17(b), the relationship between PSI and Kyko, and Kyko’s

ability to bring a lawsuit on behalf of PSI.

               a) PSI had no capacity to file this lawsuit.

       2.      PSI had no capacity to file its Complaint on September 26, 2018. It had no

capacity to participate in the case since then. It was undisputedly a void corporation, with an

inoperative corporate charter and no legal rights, since March 1, 2013.

       3.      On August 11, 2020, at 10:03 a.m.—while counsel of record attended a case

management conference with the Court—Kiran Kulkarni, the CEO of Kyko,2 purported to file a

Certificate for Revival of Charter in Delaware on behalf of PSI. Exhibit A.

       4.      Mr. Kulkarni declared that PSI has been a void corporation since March 1, 2013,

affirming that on that date PSI’s “charter became inoperative and void for non-payment of taxes

and/or failure to file a complete annual report….” Exhibit A, at 4. Thus, PSI was indisputably a

void corporation, with an inoperative charter, beginning on March 1, 2013, and continuing until

at least August 11, 2020.3

       5.      “Fed. R. Civ. P. 17(b) governs when a party has the capacity to be sued in federal

court.” ECF No. 106 at 3 (“Capacity is conceived to be a party’s personal right to litigate.”

(citation omitted)). For a corporation like PSI, its capacity to sue is determined by the law under




       2
           “Kyko” refers collectively to Kyko Global, Inc. and Kyko Global GmbH, the other two
Plaintiffs in this action.
         3
           PSI’s void status for at least seven years also exposes significant statute-of-limitations
defects in PSI’s claims. Among other things, PSI had no capacity to file anything in this
litigation for nearly two years, including the Complaint. Moreover, an “inoperable” entity could
not “discover” anything in November 2016. See Compl. ¶¶ 158, 187, 197, 205, 229, 288.
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which it was organized. Fed. R. Civ. P. 17(b)(2); see ECF No. 106 at 3. PSI was incorporated in

Delaware, Compl. ¶ 3; ECF No. 121, at 5, and its legal capacity is therefore governed by the

laws of Delaware.

       6.        Under Delaware law, if a corporation fails to complete certain required filings,

including an annual franchise tax report, then its charter is voided and all of its powers under law

are rescinded and annulled. 8 Del. C. § 510 (“If any corporation … neglects or refuses for 1 year

to pay the State any franchise tax or taxes … or shall neglect or refuse to file a complete annual

franchise tax report, the charter of the corporation shall be void, and all powers conferred by law

upon the corporation are declared inoperative.”).

       7.        One of the specific powers forfeited by a void corporation is the ability to “sue

and be sued in all courts and participate, as a party or otherwise, in any judicial administrative,

arbitrative or other proceeding, in its corporate name.” 8 Del. C. § 122(2); Transpolymer Indus.,

Inc. v. Chapel Main Corp., 582 A.2d 936 (Del. 1990) (“[T]he charter or certification of

incorporation of the corporation has, pursuant to 8 Del. C. § 510, become void and revoked and

all powers heretofore conferred upon the corporation have become ‘inoperative.’ The corporation

has thereby ceased to exist and has lost any standing to appeal and be heard, even if represented

by counsel.”).

       8.        As established by Mr. Kulkarni’s Certificate for Revival of Charter, PSI, as a void

corporation, had no capacity to file this lawsuit in September 2018 nor capacity to maintain this

lawsuit for nearly two years. Likewise, under Delaware law and this Court’s rulings related to

VTC, PSI lacked capacity to bring this action under Federal Rule 17(b). See ECF Nos. 106, 163.

Simply put, PSI had no right or ability to sue any defendant in this case.




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               b) Kyko has misrepresented PSI’s status since the Complaint was filed.

       9.      Since the Complaint was filed, Kyko has represented to this Court that PSI is an

active Delaware corporation with the ability to bring this suit. Kyko alleged, “Plaintiff Prithvi

Solutions, Inc. (‘PSI’) is a Delaware corporation with its principal place of business in

Wilmington, Delaware.” Compl. ¶ 3 (emphasis added). That was untrue: Under 8 Del. C.

§ 510, and according to Mr. Kulkarni’s own sworn statement, PSI had “ceased to exist” since at

least March 1, 2013. Transpolymer, 582 A.2d at 936.

       10.     In a brief, Kyko represented: “PSI is a Delaware corporation because, at the time

of filing the Complaint, PSI was incorporated in Delaware and had its principal place of

business in Delaware.” ECF No. 146, at 14 (emphasis added). But “at the time of filing the

Complaint,” PSI was void, lacked an operative charter, and had no legal right to bring or

otherwise participate in this action. Exhibit A.

       11.     Kyko’s witnesses have also misrepresented PSI’s corporate status. David

Amorose submitted a swown delcaration that “PSI is a Delaware corporation that was formed in

2007.” ECF No. 109-6, ¶ 4 (emphasis added).

       12.     Kyko thus misrepresented facts in its Complaint to bring this action and has

continued those misrepresentations for nearly two years. While filing motion after motion

arguing that Value Team Corporation could not participate in litigation because of its corporate

status, Plaintiffs’ counsel failed to tell the Court that they themselves were purporting to act on

behalf of a void corporation that had “ceased to exist,” Transpolymer, 582 A.2d at 936, and

repeatedly misrepresented that PSI was a Delaware corporation in good standing. Such conduct

violates counsel’s duties under Federal Rule of Civil Procedure 11(b) (“By presenting to the

court a pleading, written motion, or other paper … an attorney … certifies that to the best of the



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person’s knowledge, information, and belief, … the factual contentions have evidentiary

support.”).

               c) Questions abound regarding Kyko’s purported ownership of PSI and its
                  capacity to revive it under Delaware law.

       13.     Mr. Kulkarni’s Delaware filing raises a more fundamental—and potentially more

serious—issue. According to Delaware court records, it appears Kyko does not own PSI. In a

Delaware Superior Court action in 2013, all of PSI’s shares were transferred by court order to

Sojitz Corporation. See Exhibit B. In 2013, Sojitz Corporation filed an action against Prithvi

Information Solutions Ltd. (“PISL”) in Delaware Superior Court to register and collect a foreign

judgment Sojitz had obtained against PISL (the “Delaware Attachment Action”). Id. To satisfy

PISL’s debt, Sojitz successfully attached all of PSI’s stock—owned by PISL—through a Writ of

Attachment of Stock Pursuant to 8 Del. C. § 324. Id. at 18. In short, Sojitz appears to have been

the sole, controlling shareholder of PSI beginning in mid-2013.

       14.     Despite Sojitz’s apparent ownership of all of PSI’s shares, Kiran Kulkarni filed a

Delaware Annual Franchise Tax Report on August 10, 2020, in which he stated, under penalty of

perjury, that he is a Director and the CEO of PSI. See Exhibit C.

       15.     In this case, Kyko has repeatedly asserted its ownership of PSI’s shares by citing

orders entered in Washington state court as the basis for Kyko’s purported ownership of PSI.

Compl. ¶ 4 (“By operation of orders entered in the Superior Court of King County in the State of

Washington, Kyko is a controlling shareholder of PSI….”); ECF No. 16, at 3 n.2 (“Kyko has

also been awarded PISL’s shares in PSI thereby making Kyko a controlling shareholder of

PSI.”). But Kyko overstates what the King County orders actually said. The judicial referee in

that case ordered PISL to turn over its shares in PSI—if it had any such shares—to Kyko.

Exhibit D, at 2-3, 5.


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       16.     In reality, the judical referee never resolved whether Kyko could validly obtain

PSI’s shares or whether those shares were already owned by Sojitz. Having been informed by

Madhavi Vuppalapati that PSI’s “shares were turned over to Sojitz Corpoation pursuant to a Writ

of Attachment entered on April 4, 2013,” in the Delaware Attachment Action, the referee stated:

“Since Sojitz Corporation is not a party to this matter any conflict over the rights to ownership of

these shares cannot be adjudicated here and should be resolved separately between Kyko Global

Inc., et al and Sojitz Corporation.” Id. at 5.

       17.     It is therefore unclear whether Kyko is, or has ever been, a “controlling

shareholder of PSI.” Compl. ¶ 4. Without an ownership interest in PSI, Kyko had no authority

to seek to revive PSI’s charter in Delaware.

               d) Kyko has no standing without PSI in the case.

       18.     Resolution of these issues is case determinative. Without PSI in the case, Kyko

has no ability to maintain this lawsuit because, by its own allegations, Kyko has no putative

standing except through PSI. See Compl. ¶ 4; ECF No. 16, at 4 (arguing that the Washington

state court order is “valid under Washington state law because it merely placed Kyko in the

shoes of PSI”).

       19.     Further, the Complaint alleges only injuries to PSI. See, e.g., Compl. ¶¶ 155

(“PSI has suffered damages because it has been deprived of the Bonds funds to execute business

operations in the United States.”); id. ¶ 188 (same); id. ¶ 198 (same); id. ¶ 206 (same); id. ¶ 230

(same); id. ¶ 286 (same); Id. ¶¶ 294, 298, 301, 306, 315, 318, 323.

       20.        Most tellingly, Kyko has volunteered, more than once, to remove itself from this

litigation to fix diversity jurisdiction if necessary. ECF No. 110, at 19 (“Plaintiffs have the right

to amend their Complaint and remove the Kyko entities….”); id. at 19 n.12 (“Plaintiffs maintain



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that … Kyko … is not an indispensable party and there is no prejudice to Defendants if the Kyko

entities are dropped from the case.”); ECF No. 146, at 14 n.16; see also ECF No. 121 at 39 n.16.

       21.     Kyko has no standing without PSI in the case, meaning PSI’s dismissal will

require dismissal of the entire action. See, e.g., Finkelman v. Nat’l Football League, 810 F.3d

187, 193 (3d Cir. 2016) (constitutional standing requires “the invasion of a concrete and

particularized legally protected interest” (citation omitted)); Acrisure Holdings, Inc. v. Frey, No.

CV 18-1514-RGA-MPT, 2019 WL 1324943, at *9 (D. Del. Mar. 25, 2019) (“Wrongdoing to a

subsidiary does not confer standing upon the parent company, even where the parent is the sole

shareholder of the subsidiary.”); Tullett Prebon, PLC v. BGC Partners, Inc., No. CIV.A.09-5365

(SRC), 2010 WL 2545178, at *4 (D.N.J. June 18, 2010), aff’d, 427 F. App’x 236 (3d Cir. 2011)

(collecting cases).

               e) An evidentiary hearing is needed.

       22.     Before this case should proceed, it must be clear that PSI has the capacity to bring

the claims here. That question turns on several factual issues, including (i) the effect of PSI’s

decision to litigate for nearly two years without any legal right to do so under Delaware law; (ii)

PSI’s current status under Delaware law; and (iii) who owns PSI.

       23.     The evidentiary hearing should also address whether Kyko has ever had a good-

faith basis under Federal Rule of Civil Procedure 11 for bringing this case on behalf of PSI.

       24.     Parties with knowledge about these issues include Kiran Kulkarni, Kyko’s CEO;

Kyko’s general counsel; David Amorose; and Guru Pandyar. Furthermore, since Kyko’s

purported ownership of PSI depends on its allegation that it is “a controlling shareholder,”

Compl. ¶ 4, Kyko should be given an opportunity to introduce the shares of PSI that it

purportedly owns, along with documents reflecting their proper transfer to Kyko, into evidence.



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       25.     The SSG Defendants request that this Court hold an emergency conference to

address these issues, set an expedited briefing schedule—staying all other aspects of this

litigation in the meantime—and hold an evidentiary hearing to resolve whether PSI has ever had

capacity to bring this action and whether Kyko may bring this action on behalf of PSI.




                                                    Respectfully submitted,

 Dated: August 13, 2020                             /s/ John D. Goetz
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